UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

AMERICAN NATIONAL UNIVERSITY, INC.
Plaintiff{s)

Vv. Civil Action No.: 7:19-cv-00351-EKD

 

 

AMBASSADOR COLLEGE BOOKSTORES, INC.
Defendant(s)

DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A DIRECT FINANICAL
INTEREST IN LITIGATION

 

ONLY ONE FORM NEEDS TO BE COMPLETED FOR A PARTY EVEN IF THE PARTY IS REPRESENTED BY MORE THAN ONE ATTORNEY. DISCLOSURES MUST BE FILED ON
BEHALF OF INDIVIDUALS AS WELL AS CORPORATIONS AND OTHER LEGAL-ENTITIES. COUNSEL HAS A CONTINUING DUTY TO UPDATE THIS INFORMATION.

IF YOU ANSWER "YES" TO ANY OF THE FOLLOWING QUESTIONS, THIS STATEMENT MUST BE FILED IN ECF AS A POSITIVE CORPORATE DISCLOSURE STATEMENT

Pursuant to Standing Order entered May 15, 2000.

AMBASSADOR COLLEGE BOOKSTORES, INC. who is DEFENDANT
(Name of party you represent) (Plaintiff/Defendant)

 

 

makes the following disclosure:

1, Is the party a publicly held corporation or other publicly held entity?
["]Yes [X]No

2. Does the party have any parent corporations?

[_]Yes [>X}No

If yes, identify all parent corporations, including grandparent and great grandparent corporations:

3. Is 10 percent or more of the party's stock owned by a publicly held corporation or other publicly held entity?

[_]Yes No

If yes, identify all such owners:

4, Is there any other publicly held corporation or other publicly held entity that has a direct financial interest in the outcome
of the litigation?

Yes [X]No

If yes, identify all such owners:

5. Is the party a trade association?
[_]Yes [X]No
if yes, identify all members of the association, their parent corporations, and any publicly held companies that own ten (10%)
percent or more of the party's stock:

/s/ Paul C. Kuhnel 05/06/2019
(Signature) (Date)

 

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